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       University of Oregon and Hal Sadofsky


                                    LINITED STATES DISTRICT COURT

                                           DISTRICT OF OREGON

                                                         Eugene


       JENNIFER JOY FREYD,                                                               CV. 6:17-cv-448-MC

                                            Plaintiff,
                                                                     NOTICE OF APPEARANCE
                V

       UNIVERSITY OF OREGON, MICHAEL H
       SCHILL and HAL SADOFSKY,

                                        Defendants.


       TO:      Clerk of the Court and All Counsel of Record:

                PLEASE TAKE NOTICE that Donovan L. Bonner of the law firm of Barran Liebman

       LLP, 601 SV/ 2nd Avenue, Suite 2300, Poftland, OR 91204-3159, is appearing as counsel of

       record on behalf of Defendants University of Oregon and Hal Sadofsky in the above-captioned

       matter. This appearance is made without waiving any objections or defenses. All fuither




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                  Case 6:17-cv-00448-MC         Document 41                 Filed 06/13/18   Page 2 of 3




       pleadings, notices, documents or other papers in this action, exclusive of process, should be served

       upon said Defendants by true copy at the address stated above.



              DATED this     13th day   of June,2018

                                                             BARRAN LIEBMAN LLP


                                                                    s/Donovan L. Bonner
                                                             By
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                                           CERTIFICATE OF SERVICE
                         I hereby certify that on the   13th day    of June,20l8,I served the foregoing NOTICE

              OF APPEARANCE on the following parties at the following addresses:

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        by the following indicated method or methods set forth below:

                 tr      Electronic Filing using the Court's ECF System

                 !       Facsimile

                 E       First-class mail, postage prepaid

                 n       Hand-delivery

                 !       Overnight courier, delivery prepaid

                 ¡       E-mail


                                                               s/Donovan L. Bonner

                                                                        Paula A. Barran
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